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 1                                                  The Honorable Judge Benjamin H. Settle

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 7                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                    AT TACOMA
 9   RUSSELL D. GARRETT, Chapter 7 Trustee
     for the bankruptcy estate of Robert and
10   Stephanie Taylor,                              Case No. 3:18-cv-5863-BHS
11                               Plaintiff,         PLAINTIFF’S RESPONSE TO
                                                    DEFENDANT HAYLEY
12            v.                                    HENNING’S MOTION TO
                                                    DISMISS, OR IN THE
13   MORGAN HENNING a/k/a MORGAN                    ALTERNATIVE, MOTION TO
     ROTHSCHILD and HAYLEY HENNING;                 COMPEL ARBITRATION AND
14   and FRANNET GLOBAL, LLC,                       STAY ACTION
15                               Defendants.
16

17                                        I.   INTRODUCTION

18            This Court has personal jurisdiction over Defendant Hayley Henning

19   (“Henning”) because Henning played a key role in inducing Robert “Sean” and

20   Stephanie Taylor (“Taylors”) into purchasing an unregistered Party Princess franchise

21   in the state of Washington. Henning held herself out as the founder, co-owner, and

22   creative force behind Party Princess and its affiliated companies, while her then

23   husband, Morgan Henning, a/k/a Morgan Rothschild (“Rothschild”) was the operations

24   person. Henning and Rothschild always portrayed themselves to the Taylors as a team

25   and sold the Taylors on the strength of their relationship, both in marriage and in

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 1   business—the stability of which was an important factor in the Taylors deciding to buy

 2   a franchise and go into business with Henning and Rothschild. Henning also befriended

 3   Mrs. Taylor and used their friendship to close the deal. The Taylors later learned that

 4   Henning and Rothschild were in the process of divorcing and Rothschild had frozen

 5   Henning out of the business and the friendship Henning forged with Mrs. Taylor was

 6   aimed at closing the Taylors’ purchase of a franchise. Henning’s representations and

 7   actions subject her to specific jurisdiction in Washington.

 8            Plaintiff does not oppose Henning’s motion to compel arbitration. The Court

 9   should exercise its jurisdiction over Henning and compel arbitration just as it did in its

10   order denying Defendant Rothschild’s motion to dismiss (DKT #25) and subsequent

11   order granting Rothschild’s motion to compel arbitration (DKT #42).

12            Finally, the Court should not consider Henning’s F.R.C.P. 12(b)(6) motion to

13   dismiss for failure to state a claim as this motion must be submitted to the arbitrator. If

14   the Court does consider Henning’s F.R.C.P. 12(b)(6) motion, it should deny the motion.

15                               II.    STATEMENT OF FACTS

16            As Henning stated in her motion, this Court is familiar with the facts in this case

17   having considered two dispositive motions. To avoid unnecessary repetition, Plaintiff

18   incorporates the facts the Court cites in its May 2, 2019 order denying Rothschild’s

19   motion to dismiss (DKT #25) and its July 12, 2019 order compelling arbitration (DKT

20   #42). Plaintiff also provides the following facts, which are particularly relevant to

21   Plaintiff’s response to Henning’s motion.

22            In 2015, Sean Taylor contacted a franchisee broker to inquire about various

23   investment opportunities. DKT #33, ¶ 15. Sean and the broker discussed the possibility

24   of opening a Party Princess franchise in Washington, as Sean and his wife were

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 1   planning to move to Washington. Party Princess is a franchisor that sells franchises that

 2   provide costumed and themed parties, primarily for children. Id. at ¶ 12.

 3            During the processes of evaluating whether to purchase a Party Princess

 4   franchise, the Taylors attended an event called “Discovery Day” in California. Id. at ¶

 5   19. Mr. Taylor first met Henning at Discovery Day. Prior to the meeting starting, Mr.

 6   Taylor sat next to Henning at the meeting tables. Henning introduced herself as the

 7   owner of Party Princess along with her husband, Rothschild. Declaration of Robert

 8   Sean Taylor, ¶ 2. Henning explained the business’ history and that she was the founder

 9   of the company. Henning explained that she started the business so she could make

10   extra money while she was in college. Her mom made the dresses and she performed.

11   She went through her experiences, as the business grew first with her and a few

12   girlfriends, then later into something bigger after she met Rothschild. Id. at ¶ 3.

13            In this conversation, Henning related her business relationship with Rothschild

14   to the Taylor’s relationship, finding it interesting that Mr. Taylor was more operational

15   and Mrs. Taylor was more creative, as that was how she and Rothschild’s business

16   partnership worked as well. Henning explained she was very involved in the costuming,

17   the actor/actress programs and training, that she was a marketing expert, and that she

18   created the plan behind the success. Henning said that Rothschild handled the day-to-

19   day operations, but Henning was still very actively involved in the bigger picture items,

20   which is why she was there for Discovery Day. Id.

21            Henning explained that she and Rothschild had spent a lot of time working on

22   the franchise model and she was very interested in providing support to her future

23   business partners. Henning said she knew that many future business partners would be

24   husband and wife teams and she was very excited about that. She described how the

25   business had been so great for her family. Henning said she and Rothschild had a great

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 1   relationship, they were able to work creatively together and build something, but at the

 2   same time had the extra financial resources to have support with the children and do

 3   things that they never could do before. In Mr. Taylor’s discussions with Henning

 4   regarding Party Princess, Henning always referred to her and Rothschild as “we” and

 5   the business as “ours.” She never portrayed herself as anything less than an active

 6   owner of the business. Id.

 7            At Discovery Day, Henning and Mr. Taylor had a direct personal conversation

 8   that lasted approximately 30-45 minutes without interruptions. Mr. Taylor told Henning

 9   that Mrs. Taylor would be joining them for the dinner portion. Henning said she was

10   very excited to meet Mrs. Taylor and hoped that the Taylors liked what they were

11   hearing and seeing and that they would love to have the Taylors as part of the Party

12   Princess family. Id. at 4.

13            Mrs. Taylor arrived at Discovery Day for dinner and met Henning. At dinner

14   and after, Mrs. Taylor had many conversations with Henning, which included both

15   business and personal topics. Those conversation included their initial meeting on

16   Discovery Day; twice at the Taylors’ private residence; again at a Mom’s Group dinner;

17   numerous times over the phone; and again at the final business meeting where both

18   Henning and Rothschild were present, just before the documents were signed and the

19   Taylors transferred payment. Declaration of Stephanie Taylor, at ¶ 2.

20            In these conversations both Henning and Rothschild represented themselves as a

21   team, using phrases like "our business," "Morgan and I," "Hayley and I," and "We

22   think." They ensured that not only were they successfully running Party Princess

23   together as partners, but they were very happily married. Id. at ¶ 3. Many times Henning

24   told Mrs. Taylor how thankful she was to have such a great marriage and a business that

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 1   gave her and Rothschild the resources and flexibility to care for their kids and family in

 2   a way that is aligned with their values. Id. at ¶ 4.

 3            When Mrs. Taylor met Henning at her home, they discussed topics of nutrition,

 4   gardening, holistic lifestyle, children, as well as business. They discussed that both of

 5   their husbands were focused on the business and operations aspects and Mrs. Taylor and

 6   Henning were focused on the creative aspects. Henning told Mrs. Taylor that there

 7   needed to be both personality types for a business to thrive and how thankful she was

 8   that she and Morgan were such a united team working together as partners in their

 9   business. Henning also told Mrs. Taylor that she could reach out to her anytime for any

10   tips and tricks on how to manage Party Princess successfully. Id. at ¶ 5. Henning also

11   texted Mrs. Taylor Party Princess Promotion photos, indicating she was an active

12   participant in the business. Id. at ¶ 7.

13            Henning attended the final business meeting prior to the Taylors signing the

14   documents and transferring money. At the final business meeting Henning explained

15   how she and Rothschild had been seriously considering moving to either the Pacific

16   Northwest or Colorado, and they could not wait to visit, spend time together with their

17   families, and scout the area themselves. Id. at ¶ 6.

18            Mrs. Taylor’s relationship with Henning and Henning’s representations about

19   the business, her involvement in the business, the lifestyle it afforded her and her

20   husband, and the successful marriage and business partnership she had with her

21   husband, were very important to the Taylors in deciding to purchase a Party Princess

22   franchise. Declaration of Stephanie Taylor, at ¶ 8.

23            After these interactions with Henning, the Taylors purchased a Party Princess

24   Franchise in December 2015 for the Washington territory. (DKT # 33, ¶ 21). The

25   Taylors never heard from Henning after they signed their franchise documents. Id. at ¶

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 1   22. The Taylors later learned that Rothschild and Henning were in the process of

 2   divorcing, and Henning claimed in her divorce filings that Rothschild had somehow

 3   transferred ownership interest in the business and frozen her out of the operations of the

 4   business. Declaration of Sean Taylor, ¶ 5. This contradicts the representations Henning

 5   made during her active role in courting prospective franchisees and Party Princess’

 6   Franchise Disclosure Document, which represents Henning as the founder of Party

 7   Princess Productions; the CEO of its parent company, Rothschild Enterprises, Inc.; and

 8   part owner and advisor to Party Princess USA, LLC, Party Princess Productions, Chic

 9   Party Rentals, Inc., and The Icicles, LLC. (DKT #8-1, p. 91).

10            Henning’s assertion that her interactions with the Taylors were merely personal

11   and implying that she was not involved in the business, are also contradicted by

12   statements in her and Rothschild’s divorce filings. Henning states, “I am the creative

13   person behind the company. I started the way the company runs, methods to use with

14   marketing and a myriad of other things necessary to establish and run the business.”

15   Declaration of Sean Taylor, ¶ 6. In her March 14, 2016 declaration, Henning states,

16   “(t)he business I started has really taken off… Commencing in or about January of

17   2016, I had been participating much more in the business activities. Id. at ¶ 7.

18   Moreover, in an email exchange between Rothschild and Page Nicol, a franchise

19   specialist with Defendant FranNet Global, LLC, Page Nicol asked Rothschild whether

20   they had a signing date and deposit for the Taylors. Rothschild’s response was, “I

21   emailed him. Will keep you posted. Hayley had a play date with Stephanie last Friday.

22   It went well.” Declaration of Phil Haberthur, ¶ 2. Henning’s “play dates” were part of

23   the plan to induce the Taylors to purchase a franchise.

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 1                               III.   ARGUMENT & ANALYSIS

 2   A.       This Court has personal jurisdiction over Henning.

 3            When a court rules on a motion to dismiss for lack of personal jurisdiction based

 4   on affidavits and discovery materials rather than an evidentiary hearing, the plaintiff

 5   need only make a prima facie showing of personal jurisdiction. See Ochoa v. J.B.

 6   Martin & Sons Farms, Inc., 287 F.3d 1182, 1187 (9th Cir. 2002). “Although the

 7   plaintiff cannot simply rest on the bare allegations of its complaint, uncontroverted

 8   allegations in the complaint must be taken as true.” Schwarzenegger v. Fred Martin

 9   Motor Co., 374 F.3d 797, 800 (9th Cir. 2003) (internal quotation marks and citations

10   omitted). “Additionally, any evidentiary materials submitted on the motion are

11   construed in the light most favorable to the plaintiffs and all doubts are resolved in their

12   favor.” Ochoa, 287 F.3d at 1187 (internal quotation marks omitted).

13            To determine whether it has jurisdiction over a defendant, federal courts apply

14   the law of the state in which it sits, provided that law is consistent with federal due

15   process. Daimler AG v. Bauman, 571 U.S. 117, 126 (2014). Washington grants courts

16   the maximum jurisdictional reach permitted by due process. Easter v. Am. W. Fin., 381

17   F.3d 948, 960 (9th Cir. 2004). Thus, the question before the Court is whether exercising

18   jurisdiction here comports with the limitations imposed by due process. Helicopteros

19   Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408, 413 (1984). A court may not

20   exercise jurisdiction over a defendant if that exercise of jurisdiction “offend(s)

21   traditional notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington,

22   326 U.S. 310, 316 (1945). Fair play and substantial justice mandate that a defendant has

23   minimum contacts with the forum state before she may be hailed into a court in that

24   forum. Id. The extent of those contacts can result in either general or specific

25   jurisdiction. Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919

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 1   (2011). If the requirements for either are met, a court has jurisdiction over the parties.

 2   Helicopteros, 466 U.S. at 413-14.

 3                1. The Court has specific jurisdiction over Henning.

 4            While Plaintiff does not argue the Court has general jurisdiction, the Court does

 5   have specific jurisdiction over Henning. Specific jurisdiction permits a court to exercise

 6   jurisdiction over a nonresident defendant for conduct that “create(s) a substantial

 7   connection with the forum State.” Walden v. Fiore, 134 S. Ct. 1115, 1121 (2014). To

 8   prove that specific jurisdiction exists in a tort-based action, a plaintiff must demonstrate

 9   that: (1) a defendant purposefully directed its activities at the forum state, (2) the

10   lawsuit arises out of or relates to the defendant’s forum-related activities, and (3) the

11   exercise of jurisdiction is reasonable. Picot v. Weston, 780 F.3d 1206, 1211 (9th Cir.

12   2015). A defendant purposefully directs its conduct toward a forum state when its

13   actions are intended to have an effect within the state. Schwarzenegger, 374 F.3d at 803.

14   This occurs if the defendant: “(1) commit(s) an intentional act, (2) expressly aimed at

15   the forum state, (3) causing harm that the defendant knows is likely to be suffered in the

16   forum state.” Morrill v. Scott Financial Co., 873 F.3d 1136, 1142 (9th Cir. 2017).

17   Moreover, specific jurisdiction exists in a contract-based action when a defendant

18   purposefully avails himself of the privilege of conducting activities in the forum state.

19   Schwarzenegger, 374 F.3d at 802. “A showing that a defendant purposefully availed

20   himself of the privilege of doing business in a forum state typically consists of evidence

21   of the defendant’s actions in the forum, such as executing or performing a contract

22   there.” Id. In return for the benefits and protections of the forum’s laws, the defendant

23   must “‘submit to the burdens of litigation in that forum.’” Id. (quoting Burger King v.

24   Rudzewicz, 471 U.S. 462, 476 (1985)).

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 1            Washington’s FIPA prohibits the sale of unregistered franchises in Washington

 2   and provides for jurisdiction in Washington courts over cases arising out of such sales.

 3   RCW 19.100.020(1) provides that it is unlawful “for any franchisor or subfranchisor to

 4   sell or offer to sell any franchise in this state unless the offer of the franchise has been

 5   registered under this chapter or exempted.” RCW 19.100.160 provides:

 6            Any person who is engaged or hereafter engaged directly or indirectly in
              the sale or offer to sell a franchise … or in business dealings concerning a
 7            franchise, either in person or in any other form of communication, shall be
 8            subject to the provisions of this chapter, shall be amenable to the
              jurisdiction of the courts of this state . . . and shall be amenable to the
 9            service under RCW 4.28.180, 4.28.185, and 19.86.160.

10            In the case Huebner v. Sales Promotion, 38 Wn. App. 66                     (1984), the

11   Washington Court of Appeals considered a scenario similar to the instant case,

12   determining whether it had specific jurisdiction over a corporation and two of its

13   officers involved in offering franchise agreements. The court noted that “RCW

14   19.100.160 is plainly broad enough to confer jurisdiction over all defendants. The issue

15   is whether constitutional due process imposes a barrier to some or all of them.”

16   Huebner, 38 Wn. App. at 70. In that case, in approving the trial court’s imposition of

17   specific jurisdiction, the court noted that the defendant “was the primary participant in

18   the offer and sale of an unregistered franchise—the very conduct proscribed by the

19   FIPA.” Id. at 72 (primary activities of partnership agreement and harm that would flow

20   from activities would foreseeably occur in Washington).

21            In the instant case Henning had reason to expect she would be hailed into a court

22   in Washington. She was intimately involved in the marketing and sale of the

23   Washington Party Princess franchise to the Taylors. She met the Taylors at Discovery

24   Day and sold them on her involvement as the founder, co-owner, and creative force

25   behind the company. She also befriended Mrs. Taylor and used that bond to help close

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 1   the deal. Henning stayed involved until the final business meeting, ensuring the Taylors

 2   were comfortable through signing and payment. Declaration of Sean Taylor, ¶ 2-4;

 3   Declaration of Stephanie Taylor, ¶¶ 2-6. While Henning argues that her interactions

 4   with the Taylors were merely personal in nature, Henning and Rothschild were the faces

 5   of the franchisor. Henning’s representations were just as important to the Taylors as

 6   Rothschild’s. Declaration of Stephanie Taylor, ¶ 8.

 7            In Henning’s motion she appears to argue that she was not an officer, member,

 8   or shareholder of any Party Princess. Yet, Party Princess’ Franchise Disclosure

 9   Document represents Henning as the founder of Party Princess Productions; the CEO of

10   its parent company, Rothschild Enterprises, Inc.; and part owner and advisor to Party

11   Princess USA, LLC, Party Princess Productions, Chic Party Rentals, Inc., and The

12   Icicles, LLC. (DKT #8-1, p. 91). Likewise, Henning’s declaration in her and

13   Rothschild’s divorce proceedings indicate she was active in the company. She stated, “I

14   am the creative person behind the company. I started the way the company runs,

15   methods to use with marketing and a myriad of other things necessary to establish and

16   run the business.” Declaration of Sean Taylor, ¶ 6. Further, it is clear from the email

17   between Rothschild and Page Nicol that the purpose of Henning’s meetings with Mrs.

18   Taylor was to help close the deal with the Taylors. To assert that Henning’s only

19   wrongdoing was to be married to Rothschild, ignores her involvement in the company

20   and in inducing the Taylors to purchase a franchise.

21            While the Taylors lived in California at the time the initial franchise was

22   negotiated, Henning knew that the Taylors were planning on moving to Washington to

23   manage the franchise, which they did before the final payment was made. Just as in the

24   Huebner case, Henning was a primary participant in the sale of an unregistered

25   Washington franchise—the focal point and end point of which would be in

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 1   Washington—and which had the potential to harm Washington consumers. Huebner, 38

 2   Wn. App. at 72 (“The fact that he was conducting these activities in Texas does not

 3   preclude Washington from exercising jurisdiction over him where the harm was

 4   suffered in Washington.”).

 5            Additionally, Party Princess defrauded another Washington resident through the

 6   sale of another Party Princess franchise, as is evidenced by the Securities Division

 7   findings. As in the Huebner case, while this fact is not directly relevant to the minimum

 8   contacts in this case, it belies Henning’s assertion that she had zero involvement with

 9   Washington and could have no reasonable expectation of being hailed into court in

10   Washington. Here, the effects test for tort-based causes of action is satisfied. Henning

11   committed intentional acts (misrepresentations) expressly aimed at the forum state (the

12   sale of an unlawful Washington franchise), and caused harm, the brunt of which

13   occurred in Washington. Moreover, Henning purposefully availed herself of the

14   privilege of conducting business in the forum state. There are sufficient contacts here to

15   satisfy due process concerns. Henning is subject to specific jurisdiction in Washington

16   under RCW 19.100.160.

17   B.       Plaintiff does not oppose Henning’s motion to compel arbitration.

18            Plaintiff does not oppose Henning’s motion to compel arbitration. The Court

19   should exercise its jurisdiction over Henning and compel arbitration just as it did in its

20   order denying Defendant Rothschild’s motion to dismiss (DKT #25) and subsequent

21   order granting Rothschild’s motion to compel arbitration (DKT #42).

22   C.       Plaintiff has asserted several actionable claims against Henning and the

23            Court should deny Henning’s motion to dismiss for failure to state a claim.

24            In the alternative, if the Court does not dismiss this matter for lack of

25   jurisdiction or compel arbitration, Henning moves for dismissal under F.R.C.P.

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 1   12(b)(6), for failure to state a claim upon which relief can be granted. The Court should

 2   not address this argument and should grant Henning’s motion to compel arbitration. As

 3   Henning argues in her motion, if the Court concludes it has specific jurisdiction over

 4   Henning, it means the Court believes Henning falls within the jurisdictional reach of

 5   FIPA. This Court has already found that the arbitration clause at issue was enforceable

 6   in its Order granting Rothschild’s motion to compel arbitration. (DKT #42). “If the

 7   court finds as a matter of law that the arbitration clause is enforceable, all issues

 8   covered by the substantive scope of the arbitration clause must go to arbitration.”

 9   Townsend v. Quadrant Corp., 153 Wn. App. 870, 881 (2009). Thus, the Court should

10   not consider the substantive arguments raised in Henning’s Rule 12(b)(6) motion. If the

11   Court considers Henning’s Rule 12(b)(6) motion, it should deny the motion for the

12   following reasons.

13                1. Plaintiff pled plausible claims against Henning as required by Rule
                     12(b)(6).
14

15            To survive a Rule 12(b)(6) motion to dismiss, a complaint must contain

16   sufficient factual matter, which if accepted as true, states a claim to relief plausible on

17   its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim is plausible when the

18   plaintiff pleads facts that allow the court to draw the reasonable inference that the

19   defendant is liable for the misconduct alleged. Id. at 678. Plausibility requires pleading

20   facts, as opposed to conclusory allegations or the formulaic recitation of the elements of

21   a cause of action, Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), and must

22   rise above the mere conceivability or possibility of conduct that entitles the pleader to

23   relief. Iqbal, 556 U.S. at 678-79.

24            Further, in considering a Rule 12(b)(6) motion-to-dismiss, the Court does not

25   have to consider whether the factual allegations are probably true. Rather the Court

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 1   must take the allegations as true, no matter how skeptical the court may be. Iqbal, 556

 2   U.S. at 696. The Court must also view factual allegations in the light most favorable to

 3   the pleader, See, e.g., Ileto v. Glock Inc., 349 F3d 1191, 1199–1200 (9th Cir 2003), and

 4   may not dismiss a claim based on its assessment that the pleader will fail to find

 5   evidentiary support for the allegations or fail to prove the claim to the satisfaction of the

 6   fact-finder. Bell Atl. Corp. v. Twombly, 550 US 544, 563, 563 n 8, 127 S Ct 1955, 167 L

 7   Ed2d 929 (2007).

 8            “(W)here the claim is plausible – meaning something more than ‘a sheer

 9   possibility,’ but less than a probability – the plaintiff's failure to prove the case on the

10   pleadings does not warrant dismissal.” OSU Student Alliance v. Ray, 699 F.3d 1053,

11   1078 (9th Cir. 2012); (quoting Ashcroft, 556 U.S. at 678). “All that matters at this stage

12   is that the allegations nudge this inference ‘across the line from conceivable to

13   plausible.’” Id; (quoting Ashcroft, 556 U.S. at 680).

14                   i.          Intentional Misrepresentation

15            In order to prevail on a claim for intentional misrepresentation, a plaintiff must

16   show: (1) representation of an existing fact; (2) materiality; (3) falsity; (4) the speaker's

17   knowledge of its falsity; (5) intent of the speaker that it should be acted upon by the

18   plaintiff; (6) the plaintiff's ignorance of its falsity; (7) the plaintiff's reliance on the truth

19   of the representation; (8) the plaintiff's right to rely upon the representation; and (9)

20   damages suffered by the plaintiff. Poulsbo Grp., LLC v. Talon Dev., LLC, 155 Wn.

21   App. 339, 346 (2010).

22            Plaintiff alleged that Henning acted as and was disclosed in writing as the

23   founder and active franchise advisor of Party Princess. (DKT #33, ¶2). Henning and

24   Rothschild portrayed themselves as a team—Rothschild in charge of operations and

25   Henning handling the creative side. Id. at ¶ 20. After purchasing the franchise, the

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 1   Taylors never heard from Henning and learned that the Henning and Rothschild were in

 2   the process of divorcing. Hayley claimed in her divorce filings that Morgan had blocked

 3   her from the business for the past couple of years and she had no active role in the

 4   company. Id. at ¶ 20.

 5            Henning also held herself out and was reported as the founder and active

 6   franchise     advisor       to   Party   Princess.   Party   Princess   made     many         material

 7   misrepresentations to the Taylors, including that the franchisee would easily exceed

 8   $100,000 in gross revenues, that the Google marketing campaign alone would generate

 9   at least $100,000 per year, that the worst-case-scenario was 40 parties per month, and

10   that the Taylors would be profitable within a short while—all of which were false

11   statements that Henning, in her role as founder and active franchise advisor to Party

12   Princess would have known to be false at the time. Id. at ¶¶ 30-31.

13            Henning made material misrepresentations in her role in the company, of her

14   role in the company, and of the status of her relationship with Rothschild in order to

15   induce the Taylors into purchasing a franchise. The Taylors reasonably relied on

16   Henning’s misrepresentations, leading to a significant financial loss. The Taylors have

17   pled a plausible claim against Henning for intentional misrepresentation.

18                  ii.          Negligent Misrepresentation

19            To prove negligent misrepresentation, a party must show that (1) the defendant

20   supplied information that was false for the guidance of the plaintiff in a business

21   transaction, (2) the defendant knew or should have known that the information was for

22   the purpose of guiding the plaintiff in a business transaction, (3) the defendant was

23   negligent in obtaining or communicating the false information, (4) the plaintiff relied on

24   the information, (5) the plaintiff's reliance was reasonable, and (6) the false information

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 1   proximately caused the plaintiff damages. Dewar v. Smith, 185 Wn. App. 544, 562

 2   (2015).

 3             As the allegations discussed above with respect to intentional misrepresentation

 4   indicate, Henning knowingly misrepresented her role in the company and her

 5   relationship with Rothschild in order to induce the Taylors into purchasing a franchise.

 6   Henning allowed the Taylors to believe she was active in the company, her relationship

 7   with Rothschild was strong, and that the Taylors could expect to achieve certain

 8   performance measures with the franchise. The Taylors reasonably relied on Henning’s

 9   misrepresentations, leading to a significant financial loss. The Taylors have pled a

10   plausible claim against Henning for negligent misrepresentation.

11              iii.   FIPA and Consumer Protection Act

12             Under Washington’s Franchise Investment Protection Act, the commission of

13   any unfair or deceptive acts or practices constitute an unfair or deceptive act or practice

14   under Washington’s Consumer Protection Act. RCW 19.100.190. FIPA also provides

15   that it is unlawful “for any franchisor or subfranchisor to sell or offer to sell any

16   franchise in this state unless the offer of the franchise has been registered under this

17   chapter or exempted.” RCW 19.100.020(1). To prove a CPA claim, a party must show

18   (1) an unfair or deceptive act or practice, (2) occurring in trade or commerce, (3) that

19   impacts the public interest, (4) causing an injury to the plaintiff’s business or property

20   with (5) a causal link between the unfair or deceptive act and the injury suffered. Dewitt

21   Const., Inc. v. Charter Oak Fire Ins. Co., 307 F.3d 1127, 1138 (9th Cir. 2002).

22             Henning, in her position with Party Princess, violated FIPA by failing to provide

23   a franchise disclosure document or by providing a franchise disclosure document that

24   did not meet the requirements of RCW 19.100.040 and by selling a franchise without it

25   being registered with the state to do so. Henning personally violated FIPA by making

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 1   untrue statements of material fact and by omitting material facts necessary to make

 2   statements which were made not misleading in connection with the offer and sale of a

 3   franchise. Henning’s FIPA violations constitute unfair or deceptive acts under

 4   Washington’s CPA and occurred in trade or commerce as they related to the sale of a

 5   franchise. Henning’s wrongful conduct impacts the public interest as other Washington

 6   citizens have been harmed and potential exists for other Washington citizens to be

 7   harmed in a similar manner. The Taylors suffered significant financial harm as a result

 8   of Henning’s FIPA and CPA violations and Plaintiff has pled a plausible Consumer

 9   Protection Act Claim against Henning.

10                  iv.          Unjust Enrichment

11            To establish unjust enrichment, a party must show: (1) one party must have

12   conferred a benefit to the other; (2) the party receiving the benefit must have knowledge

13   of that benefit; and (3) the party receiving the benefit must accept or retain the benefit

14   under circumstances that make it inequitable for the receiving party to retain the benefit

15   without paying its value. Cox v. O’Brien, 150 Wn. App. 24, 37 (2009).

16            The Taylors paid a significant amount of money to Party Princess. As an owner,

17   Henning benefited personally from the Taylor’s payment for the franchise. Henning

18   actively participated in inducing the Taylors to purchase a Party Princess franchise and

19   was aware of the benefit. Given that the franchise was vastly inferior to what was

20   promised to the Taylors, it would be inequitable for Henning to retain the benefit of the

21   Taylors’ payment.

22                2. To the extent required, Plaintiff pled the elements of the claims that
                     sound in fraud, in compliance with the heightened pleading requirements
23
                     of Rule 9(b).
24
              Cases that are “grounded in fraud” or “sound in fraud” must satisfy the
25
     particularity requirement of F.R.C.P. 9(b). Vess v. Ciba-Greigy Corp., 317 F.3d 1097,
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 1   1103-04 (9th Cir. 2003). However, a plaintiff may allege some fraudulent and some

 2   non-fraudulent conduct. In such cases, only the allegations of fraud are subject to Rule

 3   9(b)'s heightened pleading requirements. Vess v. Ciba-Geigy Corp. USA, 317 F3d 1097,

 4   1104 (9th Cir 2003). Moreover, fraud is not an essential element of an unjust

 5   enrichment or consumer protection act claim if the gravamen of the complaint is not

 6   fraud. Vernon v. Qwest Communs. Int'l, Inc., 643 F Supp 2d 1256, 1265 (WD Wash

 7   2009). To comply with the heightened pleading requirements a plaintiff must allege

 8   “the who, what, when, where, and how of the misconduct charged,” and “set forth what

 9   is false or misleading about a statement, and why it is false.” Ebeid v. Lungwitz, 616

10   F3d 993, 998 (9th Cir 2010). Here, Plaintiff pled with sufficient particularity to satisfy

11   Rule 9(b) with respect to the elements of its claim that sound in fraud.

12            Plaintiff alleged in its complaint that Henning acted as and was disclosed in

13   writing as the founder and active franchise advisor of Party Princess. (DKT #33, ¶2).

14   During the initial disclosure process, the Taylors attended a Discovery Day in

15   California and met Henning. She and Mrs. Taylor connected and exchanged numbers so

16   Mrs. Taylor could ask Henning more questions about the franchise. Id. at ¶ 19.

17   Stephanie and Hayley continued to interact through phone calls, text messages, and

18   meetings with their children present. Henning and Rothschild portrayed themselves as a

19   team to the Taylors, and the Taylors trusted the Hennings based upon their friendship.

20   Rothschild explained that he was in charge of management and operations, and Henning

21   handled the creative side and was the heart of the business. Id. at ¶ 20. After purchasing

22   the franchise, the Taylors never heard from Henning again. The Taylors later learned

23   that Henning and Rothschild were in the process of divorcing, and Hayley claimed in

24   her divorce filings that Morgan had blocked her from the business for the past couple of

25   years and she had no active role in the company. Id. at ¶ 20.

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 1             In addition, Henning, in her role as owner and advisor to Party Princess, made

 2   many material misrepresentations to the Taylors. Party Princess represented that the

 3   franchisee would easily exceed $100,000 in gross revenues, that the Google marketing

 4   campaign alone would generate at least $100,000 per year, that the worst-case-scenario

 5   was 40 parties per month, and that the Taylors would be profitable within a short

 6   while—all of which were false statements that Party Princess knew to be false at the

 7   time. Id. at ¶¶ 30-31.

 8             Plaintiff alleges with sufficient particularity the misrepresentations that led to

 9   Plaintiff’s claims.

10   D.        Henning’s petition for attorney fees violates 11 U.S.C. § 524.

11             Henning’s Motion also seeks recovery of her fees against the bankruptcy estate

12   of the Taylors for action (filing the Complaint on September 17, 2018) that was taken

13   before the Taylors filed their bankruptcy petition on September 27, 2018. Thus, the only

14   claim for fees would be against the Taylors as debtors, and not the Bankruptcy Trustee.

15   However, the Taylors’ discharge through their bankruptcy filing prevents such an

16   action. Pursuant to 11 U.S.C. § 524, the Taylors discharge through the bankruptcy

17   operates as an injunction against the commencement or continuation of any act to

18   collect, recover, or offset any debt against the debtors. The request for fees is an

19   actionable violation of 11 U.S.C. § 524 because Henning seeks to recover fees on an

20   action that occurred before the bankruptcy filing. Henning’s request for fees should be

21   denied.

22                                     IV.     CONCLUSION

23             The court should deny Henning’s motion to dismiss based on lack of personal

24   jurisdiction, because this court has specific jurisdiction over Henning. Upon finding that

25   it has personal jurisdiction over Henning, the Court should grant Henning’s motion to

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 1   compel arbitration. Therefore, the Court should not consider Henning’s Rule 12(b)(6)

 2   motion to dismiss for failure to state a claim upon which relief can be granted. If the

 3   Court does consider Henning’s Rule 12(b)(6) motion, it should deny the same. The

 4   Court should not award Henning her fees as her request for fees violates 11 U.S.C. §

 5   524.

 6            DATED this 16th day of September, 2019.

 7                                LANDERHOLM, P.S.
 8
                                  /s/ Phillip J. Haberthur
 9                                PHILLIP J. HABERTHUR, WSBA #38038
                                  Of Attorneys for Plaintiff
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                                   CERTIFICATE OF SERVICE
 1
              The undersigned hereby certifies as follows:
 2
              1.       My name is Heather A. Dumont. I am a citizen of the United States, over
 3
     the age of eighteen (18) years, a resident of the State of Washington, and am not a party
 4
     of this action.
 5
              2.       On the 16th day of September, 2019, I caused to be served the foregoing
 6
     PLAINTIFF’S RESPONSE TO DEFENDANT HAYLEY HENNING’S MOTION
 7
     TO DISMISS, OR IN THE ALTERNATIVE, MOTION TO COMPEL
 8
     ARBITRATION AND STAY ACTION by electronic notice through the court’s ECF
 9
     system, upon the following:
10
              Curt Roy Hineline, WSBA #16317                 Attorneys for Defendant Morgan
11            Carolyn Robbs Bilanko, WSBA #41913             Rothschild
              Anthony Robert Sterling, WSBA #53424
12            Baker & Hostetler LLP
              999 Third Avenue, Suite 3600
13            Seattle, WA 98104-4040
              E-mail: chineline@bakerlaw.com
14                    cbilanko@bakerlaw.com
                      asterling@bakerlaw.com
15            Courtesy E-mail: ssmith@bakerlaw.com
16            Russell D. Garrett, WSBA #18657                Chapter 7 Trustee Appointed to
              Jordan Ramis, PC | Attorneys at Law            Plaintiff’s Robert Sean Taylor
17            1499 SE Tech Center Place, Suite 380           and Stephanie Taylor’s
              Vancouver, WA 98683                            Bankruptcy Estate
18            E-mail: russ.garrett@jordanramis.com
19            David M. Poore, WSBA #35859                    Attorneys for Defendant Hayley
              Preg O’Donnell & Gillett PLLC                  Henning
20            901 5th Ave., Ste. 3400
              Seattle, WA 98164
21            E-mail: dpoore@poglaw.com
22
          I CERTIFY UNDER PENALTY OF PERJURY UNDER THE LAWS OF
23   THE STATE OF WASHINGTON THAT THE FOREGOING IS TRUE AND
     CORRECT.
24        DATED: September 16, 2019
          At: Vancouver, Washington
25                                  /s/ Heather A. Dumont
                                    HEATHER A. DUMONT
26
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